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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 NETLIST, INC.,                                    §
                                                   §
                Plaintiff,                         §
                                                   §
 v.                                                §   CIVIL ACTION NO. 2:21-CV-00463-JRG
                                                   §
 SAMSUNG ELECTRONICS CO., LTD.,                    §
 SAMSUNG ELECTRONICS AMERICA,                      §
 INC., SAMSUNG SEMICONDUCTOR,                      §
 INC.,                                             §
                                                   §
                Defendants.                        §

                                             ORDER
       Before the Court is Plaintiff Netlist, Inc.’s (“Netlist”) Opposed Motion to Continue

Hearing of Samsung’s Motion to Stay (Dkt 122) Contained in a list of Outstanding Motions Set

for Hearing in (Dkt. 142) (the “Motion to Continue”). (Dkt. No. 153.)

       The Motion to Continue is GRANTED.

       The Court hereby sets the following motions and all related briefing for hearing on

Wednesday, January 18, 2023, at 1:30 p.m. central time in-person in Marshall, Texas.

Attendance by lead and local counsel for each party is mandatory. The Court ORDERS that

the parties shall meet and confer on the premises at the Sam B. Hall, Jr. Federal Courthouse in

Marshall, Texas beginning at 9:00 a.m. CT in the morning in an effort to narrow or resolve their

disputes prior to the hearing. Their meet and confer efforts should continue until the time set for

the hearing, unless the Court directs otherwise.

  Date filed   Dkt.                              Filing
               No.
 8/30/2022     74   Opposed MOTION to Stay Pending Inter Partes Review and Ninth Circuit
                    Appeal by SAMSUNG
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 12/14/2022   113   Opposed SEALED MOTION FOR LEAVE TO AMEND
                    PRELIMINARY INFRINGEMENT CONTENTIONS by Netlist
 12/22/2022   121   SEALED PATENT MOTION TO COMPEL DEPOSITION OF JUNG
                    BAE LEE by Netlist
 12/22/2022   122   Unopposed MOTION for Leave to File a Supplement to Pending Motion
                    to Stay Pending Ninth Circuit Appeal and Inter Partes Review [Dkt 74] by
                    SAMSUNG
 12/22/2022   124   Opposed SEALED MOTION to Compel Production of Testimony from
                    Prior Netlist Litigations Asserting Related Patents Against the Same
  .
                    Category of Accused Products by SAMSUNG
 12/22/2022   125   Motion to Compel Production of Documents by Defendants Samsung
                    Electronics Co., Ltd., Samsung Electronics America, Inc., and Samsung
                    Semiconductor, Inc.
 12/23/2022   126   Opposed SEALED MOTION to Strike Netlist's Late Disclosure of Netlist
                    Products Purportedly Practicing the Asserted Patents and Late Disclosure
                    of Netlist's Conception, Reduction to Practice, and Third Party Disclosure
                    Documents by SAMSUNG
 12/23/2022   130   Opposed SEALED MOTION for Leave to Amend Preliminary
                    Infringement Contentions by Netlist


      So ORDERED and SIGNED this 13th day of January, 2023.




                                                    ____________________________________
                                                    RODNEY GILSTRAP
                                                    UNITED STATES DISTRICT JUDGE




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